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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DEON LAMONT ROSE,                                  )
                                                   )
                 Plaintiff,                        )
                                                   )
           vs.                                     )   Case No. 1:16-cv-05485
                                                   )
NICOLETTE DUFFIELD, CATALINO                       )
BAUTISTA, M.D., EDWARD L.                          )
MONTWILL, O.D., SALEH OBAISI, M.D.,                )   JURY TRIAL DEMANDED
DEBBIE McCALLAM, JOSEPH                            )
SSENFUMA, CATHY TORRES, and UN-                    )
KNOWN AND UNNAMED ILLINOIS                         )
DEPARTMENT OF CORRECTIONS EM-                      )
PLOYEES                                            )
                                                   )
                 Defendants.                       )
                                                   )


                              PLAINTIFF’S AMENDED COMPLAINT

       Plaintiff, Deon Lamont Rose, by and through his attorneys, Bartlit Beck Herman Pa-

lenchar & Scott LLP, complaining of Defendants Nicolette Duffield, Catalino Bautista M.D.,

Edward L. Montwill, O.D., Saleh Obaisi, M.D., Debbie McCallam, Joseph Ssenfuma, Cathy

Torres, and other unknown and unnamed Illinois Department of Corrections employees, states as

follows:

                                  NATURE OF THE ACTION

       1.        Plaintiff brings this action pursuant to 42 U.S.C. § 1983 and the Eighth Amend-

ment to the United States Constitution for violations of his constitutional rights. Plaintiff alleges

that Defendants Nicolette Duffield, Catalino Bautista, M.D., Edward L. Montwill, O.D., Saleh

Obaisi, M.D., Debbie McCallam, Joseph Ssenfuma, Cathy Torres, and other unnamed and un-

known Illinois Department of Corrections employees (“Defendants”) acted with deliberate indif-

ference to Plaintiff’s serious medical needs by failing to provide Plaintiff with adequate treat-

ment of and follow-up care for Plaintiff’s glaucoma. As a result of Defendants’ failure to pro-
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vide constitutionally adequate medical care, Plaintiff experienced severe pain and suffering, his

condition worsened, and his eyesight became impaired.

                                 JURISDICTION AND VENUE

       2.        This action is brought pursuant to 42 U.S.C. § 1983 and the Eighth Amendment to

the United States Constitution. This Court therefore has jurisdiction over this action under 28

U.S.C. § 1331.

       3.        The events forming the basis of this action occurred within the Northern District

of Illinois. Venue is therefore proper in this district under 28 U.S.C. § 1391.

                                              PARTIES

       4.        Plaintiff Deon Lamont Rose is a citizen of the United States, who currently re-

sides in Joliet, Illinois. Plaintiff was incarcerated at the Sheridan Correctional Center from Janu-

ary 2012 until his release on June 6, 2014.

       5.        Wexford Health Sources, Inc. (“Wexford”) is a Pennsylvania Corporation trans-

acting business in Illinois and is a health care provider for Illinois Department of Corrections Fa-

cilities, including the Sheridan Correctional Center.

       6.        At all times relevant to this Amended Complaint, Defendant Nicolette Duffield

was a Healthcare Administrator with the Illinois Department of Corrections at the Sheridan Cor-

rectional Center. At all relevant times, Defendant Duffield was acting under color of state law

and as an employee of the Illinois Department of Corrections. Defendant Duffield is being sued

in her individual capacity.

       7.        At all times relevant to this Amended Complaint, Defendant Catalino Bautista,

M.D., was a Medical Director with the Illinois Department of Corrections at the Sheridan Cor-

rectional Center. At all relevant times, Defendant Bautista was acting under color of state law

and as an employee of the Illinois Department of Corrections. Defendant Bautista is being sued

in his individual capacity.

       8.        At all times relevant to this Amended Complaint, Defendant Edward L. Montwill,

O.D., was an optometrist employed by the Illinois Department of Corrections and/or Wexford

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Health Sources, Inc. At all relevant times, Defendant Montwill was acting under color of state

law and as an employee and/or agent of Wexford. Defendant Montwill is being sued in his indi-

vidual capacity.

       9.      At all times relevant to this Amended Complaint, Defendant Saleh Obaisi, M.D.,

was a doctor employed by the Illinois Department of Corrections and/or Wexford Health

Sources, Inc. At all relevant times, Defendant Obaisi was acting under color of state law and as

an employee and/or agent of Wexford. Defendant Obaisi is being sued in his individual capacity.

       10.     At all times relevant to this Amended Complaint, Defendant Debbie McCallam

was a corrections nurse with the Illinois Department of Corrections at the Sheridan Correctional

Center. At all relevant times, Defendant McCallam was acting under color of state law and as an

employee of the Illinois Department of Corrections. Defendant McCallam is being sued in her

individual capacity.

       11.     At all times relevant to this Amended Complaint, Defendant Joseph Ssenfuma

was Director of Nursing with the Illinois Department of Corrections at the Sheridan Correctional

Center. At all relevant times, Defendant Ssenfuma was acting under color of state law and as an

employee of the Illinois Department of Corrections. Defendant Ssenfuma is being sued in his

individual capacity.

       12.     At all times relevant to this Amended Complaint, Defendant Cathy Torres was a

nurse with the Illinois Department of Corrections at the Sheridan Correctional Center. At all rel-

evant times, Defendant Torres was acting under color of state law and as an employee of the Illi-

nois Department of Corrections. Defendant Torres is being sued in her individual capacity.

                                             FACTS

       13.     When Plaintiff arrived at the Sheridan Correctional Center, Plaintiff told correc-

tional officers during his intake that Plaintiff suffered from glaucoma. Shortly after Plaintiff ar-

rived at the Sheridan Correctional Center, he was evaluated by doctors from the University of

Illinois at Chicago (“UIC Doctors”), who confirmed that Plaintiff suffers from glaucoma.



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        14.     Plaintiff’s UIC Doctors told the Illinois Department of Corrections about Plain-

tiff’s condition and diagnosis, including by noting Plaintiff’s condition and medical needs in

Plaintiff’s inmate file.

        15.     In addition to confirming that Plaintiff has glaucoma, Plaintiff’s UIC Doctors rec-

ommended certain treatment and follow-up for Plaintiff’s medical care. Among other things,

Plaintiff’s UIC Doctors prescribed eye drops to treat Plaintiff’s glaucoma. Plaintiff’s UIC doc-

tors also directed that Plaintiff return to UIC for periodic follow-up care to allow Plaintiff’s UIC

Doctors to monitor Plaintiff’s condition.

        16.     Plaintiff’s UIC doctors and Plaintiff himself told Defendants about Plaintiff’s

medically necessary treatment, including the daily prescription eye drops that Plaintiff requires.

Defendants were fully aware that Plaintiff suffered from glaucoma, a serious medical condition,

and needed treatment for this condition.

        17.     As employees of the Illinois Department of Corrections and/or Wexford Health

Sources, Inc., Defendants were responsible for ensuring that inmates at the Sheridan Correctional

Center, including Plaintiff, received adequate medical treatment and care.

        18.     Defendants acted with deliberate indifference to Plaintiff’s serious medical need.

Defendants did not provide Plaintiff with access to, and unreasonably withheld, Plaintiff’s medi-

cally necessary and prescribed eye drops. Defendants also failed to ensure that Plaintiff was able

to timely return to UIC for his medically necessary follow-up appointments to receive treatment

from Plaintiff’s UIC Doctors.

        19.     When Defendants failed to provide Plaintiff with his medically necessary eye

drops, and failed to schedule Plaintiff for his medically necessary follow-up appointments with

Plaintiff’s UIC Doctors, Plaintiff filed numerous requests, complaints and grievances. Defend-

ants failed to take appropriate action to respond to Plaintiff’s requests, complaints and grievanc-

es. Paragraphs 20–27 below detail some specific examples of Defendants’ failure to provide ad-

equate medical care for Plaintiff’s glaucoma.



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       20.     On May 28, 2013, Plaintiff filed a grievance explaining that he had repeatedly

been denied prompt refills of his prescribed eye drops and that he was four weeks late for his re-

quired follow-up appointment at UIC. Before filing the grievance, Plaintiff had complained on

numerous occasions to the Sheridan Correctional Center’s health care services personnel that he

was not getting proper medical care. In response to Plaintiff’s grievance, Defendant Montwill

claimed that he had seen Plaintiff and resolved the issues related to Plaintiff timely receiving his

eye drops. Defendant Montwill did not see Plaintiff and did not resolve the issues surrounding

Plaintiff’s eye drops. Defendant Montwill did not help Plaintiff get the treatment he needed.

       21.     On July 19, 2013, Plaintiff told Defendant Ssenfuma that he was not receiving his

eye drops, was in pain, and asked Defendant Ssenfuma whether Plaintiff’s prescription eye drops

had been ordered. Defendant Ssenfuma responded by telling Plaintiff that his “eyes are always

red,” that the medically necessary eye drops had not been ordered, and that Plaintiff was wasting

Defendant Ssenfuma’s time. Defendant Ssenfuma did not conduct any physical exam or other-

wise attempt to help Plaintiff. Defendant Ssenfuma did not help Plaintiff get the treatment he

needed.

       22.     Defendants’ failure to ensure adequate treatment of Plaintiff’s glaucoma contin-

ued and Plaintiff frequently was not provided with his needed eye drops. Plaintiff often went

weeks or months without receiving his eye drops, causing him severe pain and temporary blind-

ness. Plaintiff continued to file grievances to report Defendants’ failure to provide adequate

treatment but his requests went unanswered. In addition, because Plaintiff did not get the eye

drops he needed, a shunt that had been surgically inserted in his eye closed, causing the pressure

to build in his eye. The pressure eventually caused Plaintiff to suffer extreme pain and tempo-

rary blindness, and led to him needing emergency surgery.

       23.     On September 19, 2013, Defendant Bautista stated, in response to one of Plain-

tiff’s grievances, that issuance of Plaintiff’s eye drops had been “resolved”. Defendant Bautista

was aware that issues around Plaintiff’s eye drops had not been resolved, yet Defendant Bautista

did not help Plaintiff get his necessary medication.

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       24.     In or around September 2013, Defendant Duffield similarly claimed that the is-

sues surrounding Plaintiff timely receiving his medication had been resolved. Defendant Duf-

field was aware that such issues had not been resolved, yet Defendant Duffield did not help

Plaintiff get his necessary medication.

       25.     On January 29, 2014, Plaintiff was in the Sheridan Correction Center’s health care

unit to receive his prescription eye drops when he noticed that one of his prescription bottles was

empty. Plaintiff told Defendant Torres, who was in the unit at the time, that his prescription

needed to be refilled. Defendant Torres responded that she did not have time to address Plain-

tiff’s request and that it was not important. When Plaintiff persisted in his request that his pre-

scription needed to be re-filled, instead of helping Plaintiff ensure that he had the medication he

needed, Defendant Torres threatened to “write a ticket” against Plaintiff. Defendant Torres did

not help Plaintiff get the treatment he needed.

       26.     On February 5, 2014, Plaintiff was not called to the Sheridan Correctional Cen-

ter’s health care unit to receive his prescription eye drops. When Plaintiff advised Defendant

McCallam that he had not received his eye drops, Defendant McCallam made no effort to get

Plaintiff his eye drops and prevented Plaintiff from getting needed treatment from an on-site doc-

tor. Defendant McCallam did not help Plaintiff get the treatment he needed.

       27.     On February 17, 2014, Plaintiff was called to the Sheridan Correctional Center’s

health care unit to receive his prescription eye drops four hours after he was supposed to receive

them. When Plaintiff finally got to the health care unit, Defendant Ssenfuma scolded Plaintiff

for coming late and told Plaintiff that he would be fired from his job in Sheridan Correctional

Center’s Dietary unit. Defendant Ssenfuma knew that it was not Plaintiff’s fault that he was

called to the health care unit four hours late. The delay caused Plaintiff severe pain and damaged

his vision. Defendant Ssenfuma did not help Plaintiff get the treatment he needed.

       28.     Defendants’ failure to provide access to medical care occurred throughout Plain-

tiff’s incarceration, and Plaintiff filed at least eight complaints about the inadequate treatment of



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his glaucoma in 2013 and into 2014. Yet Defendants’ failure to provide adequate medical care

continued.

       29.     Defendants’ failure to provide access to medical care for Plaintiff constituted de-

liberate indifference to Plaintiff’s serious medical needs.

       30.     As a direct and proximate result of Defendants’ deliberate indifference, Plaintiff

experienced severe pain, suffering and mental anguish and Plaintiff’s eyesight has deteriorated.

               COUNT I (42 U.S.C. § 1983 – Cruel and Unusual Punishment):
       31.     The actions of Defendants, described above, whereby Defendants were aware of

but deliberately indifferent to Plaintiff’s serious medical needs and failed to take steps to provide

adequate medical care, constituted deliberate indifference to Plaintiff’s serious medical needs,

thus violating the Eighth Amendment to the United States Constitution and 42 U.S.C. § 1983.

       32.     As a direct and proximate result of these violations, Plaintiffs suffered great pain,

mental anguish, and serious and permanent physical disabilities.

       33.     As a result of Defendants’ failure to provide Plaintiff adequate medical care,

Plaintiff suffered severe pain and impairment of his vision.

                                   REQUESTS FOR RELIEF

       WHEREFORE, Plaintiff Deon Lamont Rose respectfully requests that the Court enter an

Order granting the following relief:

       A.      An award of monetary damages in an amount to be determined at trial;

       B.      Expenses and attorneys’ fees under 42 U.S.C. §§ 1983 and 1988; and

       C.      For any such other or further relief as the Court may find proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all claims so triable.




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Dated: December 19, 2016              Respectfully Submitted,


                                      By:/s/ Mark E. Ferguson


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